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                                          May 15, 2022
Ms. Molly C. Dwyer, Clerk
U.S. Court of Appeals for the Ninth Circuit
95 7th Street
San Francisco, CA 94103

Re: Todd Yukutake, et al v. Holly T. Shikada, 21-16756


Dear Ms. Dwyer:
       I write this Court to inform it of the recent opinion in Jones v. Bonta, No. 20-56174, 2022
U.S. App. LEXIS 12657 (9th Cir. May 11, 2022) (attached) which held California’s ban on
young adults under the age of 21 owning centerfire rifles unconstitutional. The panel rejected
California’s attempt to rely on “laws passed in the 19th and 20th centuries” to justify its ban as
longstanding. It then endorsed Judge Jones’ dissent in NRA v. BATFE, 714 F.3d 334 (5th Cir.
2013) which stated that “19th-century sources may be relevant to the extent they illuminate
the Second Amendment’s original meaning, but they cannot be used to construe the Second
Amendment in a way that is inconsistent with that meaning.” Jones at *33. Even if
“Reconstruction era laws” could be used to deem a law longstanding, the panel found a small
number of laws insufficient to be evidence that a law is longstanding. Id. at *33. Two laws
“both passed over a decade after the ratification of the Fourteenth Amendment—cannot
contravene the Second Amendment's original public meaning”. Id. The panel opinion confirms
the Hawaii laws at issue in this litigation are not longstanding.
        The panel applied strict scrutiny and found the ban unconstitutional. The panel also stated
the ban would fail intermediate scrutiny because California had not produced sufficient evidence
that there was a reasonable fit between the offered government interest and the ban. “California’s
evidence was insufficient to demonstrate that there was a reasonable fit between the young that
would allow the government to trample over constitutional rights just by relying on anecdotal
evidence and questionable statistics that loosely relate to a worthwhile government goal.” Id at
*84. This supports Plaintiffs’ position that Hawaii was required to produce evidence to justify its
laws. Unlike California, Hawaii produced no evidence at all to justify its laws. This Court
should affirm the district court and hold both laws at issue in this litigation unconstitutional.


       Yours very truly,
                                              /s/ Alan Beck
                                              Alan Beck
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                                  CERTIFICATE OF SERVICE
         I served the foregoing by electronically filing it with the Court’s CM/ECF system which
generated a Notice of Filing and effects service upon counsel for all parties in the case. I certify
that this supplement has 323 words as calculated by Microsoft Office 365. I declare under penalty
of perjury that the foregoing is true and correct.


                               Executed this the 15th day of May 2022


                                      s/ Alan Beck
